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COURTROOM MINUTES: Clerk, U.S. District Court
The Honorable Stephen Wm Smith Presiding Southern District of Texas
Deputy Clerk: Jason Marchand . Filed

he p-Da-4 $
Interpreter Present? OQ Yes 7No ERO 5, bi Vy 47 9 David J. Bradley, Clerk

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USPT/USPO E v LA very 0 OPEN IY ADJOURN J / (
C1 OTHER DISTRICT. DO DIVISION THEIR CASE#
PROCEEDING HELD: hy
2 Initial Appearance ounsel Determination Hearing .E) Status Hearing
C) Bond Hearing C Identity C Hearing Continued on
CJ Detention Hearing Cl Preliminary Hearing C Other
CASE NUMBER [CR O MJ| b- KA Defendant # t

AUSA B Amd, Bele

Pespy Ann felted

Ci Date of arrest 0 Rule 5
CO Defendant's first appearance, Advised of rights/charges on: C1 Indictment O Information [1 Complaint
Violation of O Supervised Release (Pretrial Release O Probation

Defendant C) Material Witness appeared O with E*rithout counsel

4p fendant requests appointed counsel. C Financial Affidavit executed and sworn.
Order appointing Federal Public Defender CJ Order appointing private counsel to follow.

CO) Order of partial reimbursement to follow. 0 Oral order, Defendant to Reimburse CJA fund $

C1 Defendant advises that he will retain private counsel.

QD Defendant bondset (Cash 0 Surety OP/R 0 Unsecured 01 $ Deposit
QO Defendant bond set [Cash 0 Surety O P/R 1) Unsecured 0 $ Deposit
0 Defendant bond set ([)Cash 0 Surety O P/R 0 Unsecured 0 $ Deposit
CO Surety signatures required as to Defendant(s) .

0 Defendant(s) advised of conditions of release

1 BOND EXECUTED CO Defendant Released

Ci Order of Temporary Detention Pending Hearing entered as to Defendant(s)
ee of Detention Pending Trial entered as to Defendant(s)
0

nd Continued ZC Bond reinstated ZC Bond Revoked

CZ Defendant remanded to custody C0 M/W remanded to custody
CX Defendant Ordered Removed to Originating D District 0 Division
Defendant Waiver of 0 Preliminary O Identity 0 Detention Hrg 1 Detention Hrg this District
D Court finds: 0 Probable Cause C Identity
O Defendant(s) is/are scheduled on at for:

0 Arraignment Ci Counsel Determination Hearing 0 Identity Hearing —

C1 Detention Hearing © Preliminary Hearing ~ 0 Final Revocation Hearing

Oo Hearing

